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Your honor, I am deeply regretful and sorrowful that my twin sons, Muneeb and Sohaib Akhter,
have wronged themselves by involvement in illegal activities and I understand that they have
admitted to the charges placed upon them.

MY BACKGROUND
My name is Najam Akhter. I am the father of Muneeb and Sohaib Akhter. I completed my Bachelors
of Science in Electrical Engineering (summa cum laude) from the University of Mississippi in
September 1986 and my Masters and Doctorate, also in Electrical Engineering, from The Ohio
State University in December 1988 and March 1993. I work for Alcatel-Lucent (French company) in
Saudi Arabia as a Technical Support Manager.

MUNEEB’S AND SOHAIB’S BACKGROUND:

My twin sons, Muneeb and Sohaib Akhter, grew up in Saudi Arabia. They attended school from KG
to 12th grade in an international school with American and British curriculum. We emphasized to
them the key values of being truthful, honest, being good to others and law abiding citizens. They
had a difficult childhood where they were isolated and marginalized from the other students
because they were Americans and only spoke English. As a result throughout their lives they
sought desperately for friends that would accept them. For this they would go overboard to please
them. The influence of bad company and poor judgment mislead them to do the actions that
resulted in this unfortunate situation.

I always took walks with them after dinner for about 20-30 minutes to discuss and understand
their issues. We scheduled events with selected families for them to meet children that where in
the similar situation. I also tried to create a close friendship with them and also discuss their
issues and suggest ways to resolve them. During this period I realized their smart technical insight
but saw a clear lack of understanding of addressing classmate relations. They would be willing to
do anything their classmates wanted with the hope to gain their friendship. They would give their
lunch and stationary and would even share their homework notebook and notes at the most
critical times just before the exams while they suffered from not have homework notebook and
notes to study from. They would go as far as to repair their classmate’s mobiles and computers at
their own expense. The only explanation they had for this was that it was not a big deal and
hopefully their classmates would value them more.

After high school, my sons moved to the US to continue their university education. They were only
sixteen years old at the time. Due to their immature nature, we decided that their mother would
move with them to the US while I continue to live and work in Saudi Arabia. Years passed and by
the grace of God, the twins excelled. Muneeb and Sohaib both earned their Bachelor’s degree in
Electrical Engineering from George Mason University and were the youngest graduates in the class
of 2011. Muneeb got his Master’s degree in Computer Engineering from George Mason University
in December 2012, only three semesters after completing his Bachelor’s degree. Sohaib received
his Master’s degree in Biomedical Engineering from Virginia Commonwealth University in August
2013. They set up a company called Accesys Technologies to apply for research grants in
Engineering. They successfully won a DARPA (Defense Advanced Research Project Agency)
contract and successfully completed the project delivery.

As they tried to move into their professional lives, they made some unfortunate mistakes that
demonstrate immaturity, lack of correct judgment and a lack of understanding of the
consequences of their actions. I believe that bad company of friends was the key underlining issue
to this difficult and painful situation that they are now enduring.

During the last few months, my sons have recognized the value of freedom and the value of God’s
blessings in each and every thing; from the food we eat to the numerous good people around us.
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They understand that they were blessed with almost everything they wanted and there was
absolutely no reason for the serious mistakes committed. I have seen a new aspect of my twins
where they want to consult with me in making their important decisions. In this regard my advice
to them has been to fully cooperate in all aspects and the need to close this chapter of their lives
to allow them to move into the next phase of their lives. We have discussed on numerous times
and they recognize that they have ample potential to do good in society and never to indulge in
any illegal acts. I can honestly say that they have taken my advice to heart. Both Muneeb and
Sohaib want to make things right for their future and are willing to do what it takes to get back on
track with real life.

I hope that with age they will learn from the environment to become mature and responsible
adults. Indeed, I recognize that the next phase of their lives needs close guidance and I, together
with their mother, will not leave any stone unturned to regularly discuss and guide them to
become contributing members of society.

Finally, I would like to thank you for your time to read how I, as their father, see the past,
present and future of my twins.

Sincerely,
Najam Akhter (Father of Muneeb and Sohaib Akhter).
